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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
 UNITED STATES OF AMERICA
                                                         Case No.1:18‐ c卜 28(ECS)
                V.


JARRELL HARRIS,
        Dcfendant.



                            BODY WORN CAMERA MATERIALS

        To expedite the flow of discovery of body-wom-camera ("BWC") materials between the

parties, and to adequately protect personal identifying information and other sensitive information,

it is, pursuant to the Court's authority under Fed.R.Crim.p. l6(d)(l). hereby ORDERED:

        l.     Limitations on use       - All Bwc      materials provided by the united States in

preparation for, or in connection with, any stage of this case (collectively, ,,the BWC materials,')

are subject to this protective order ("the Order"). Subject to the limitations contained in this Order,

these BWC materials may be used by the defendant and the legal defense team solely in connection

with the defense ofthis case, and any appeal, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

        2.     Legal defense team - The legal defense team includes defense counsel (defined as

counsel ofrecord in this case, including any subsequent post-trial or appellate counsel), the defense

counsel's immediate supervisor, and investigators, paralegals, or support staff members, who are

working under the direction of the defense counsel. The tegal defense team shall not include the

defendant, the defendant's family members, or friends or known associates ofthe defendant.

       3.      Limitation on disclosure beyond the legal defense team - Except         as provided by

this Order, the legal defense team shall not disclose the BWC materials or their contents directly

or indirectly to any person, entity, or public forum, other than members of the legal defense team.
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Subject to the limitations described below, defense counsel may authorize the viewing of BWC

materials by: (l ) the defendant; and (2) other persons to whom this Court may authorize disclosure

(collectively, "court-authorized persons").

          4.     Limitations on copying BWC materials - The legal defense team may                      make

copies or electronically reproduce the BWC materials as deemed necessary by defense counsel                for

use in connection     with this case. Except   as authorized   in paragraph eight below, the legal defense

team shall not provide a copy, screenshot, or electronic reproduction ofthe BWC materials to the

defendant, or any court-authorized person. Except as authorized in paragraph eight below, defense

counsel shall maintain BWC materials, including physical or electronic copies of BWC materials,

in a secured environment that limits access to members of the legal defense team. Any copies and

reproductions authorized by defense counsel shall be treated in the same manner rrs the original

BWC materials.

          5.     Defense counsel's responsibility to           limit viewing of sensitive materials2 - If

defense counsel authorizes the defendant or a court-authorized person to view BWC materials,

defense counsel shall ensure that neither the defendant, nor any court-authorized persons, view or

hear any portion of the BWC materials that includes information regarding a witness':

                 A.       Name;

                 B.       Nickname;
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                          Date of birth;
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                          Social security or taxpayer identification number;



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      generally, Fed.R.Crim.P. 49.1 (defining information that raises privacy concems in public filings); 24
    See
DCMR $ 3902.5(aXl){5) (limiting a subject's access to BWC footage that would "violate the individual
privacy rights ofany other subject" or'Jeopardize the safety ofanother subject"); l8 U.S.C. $ 3771(a)(l)
(a crime victim has the "right to be reasonably protected from the accused"); l8 U.S.C. $ 3771(a)(8) (a
crime victim has the "right to be treated with faimess and with respect forthe victim's dignity and privacy").
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              E.      Driver's license or non-driver's license identification card number;

              F.      Home, work or school address:

              G.      Telephone numbers, cellular numbers, or email addresses;

              H.      Relatives, including names and contact information;

              I.      Credit card, bank, debit, or other financial-account numbers;

              J.      Medical or mental health history informationl or

              K.      Usemames, user identifications. and passwords.

               Preventing duplication of BWC materials during viewings - If defense counsel

authorizes the BWC materials to be viewed by the defendant or any court-authorized person,

defense counsel shall ensure that the defendant       or such court-authorized    person does not

photograph, take screen shots, or otherwise duplicate the BWC materials.

       7.     Notification regarding this Order - Defense counsel must provide members of

the legal defense team, the defendant, and any other court-authorized person, with a copy of this

Order before providing them with access to, or permitting them to view, BWC materials.

       8.      Viewing by incarcerated defendants       -   If the defendant is incarcerated by the

District of Columbia Department of Corrections (hereinafter "DCDOC), defense counsel is

authorized to provide a copy of the BWC materials to the DCDOC Office of General Counsel so

that the defendant can view the BWC materials pursuant to DCDOC's altemative viewing

procedure. Before providing a copy of the BWC materials to DCDOC, defense counsel must

ensure that the BWC materials provided to the defendant through DCDOC do not contain any

sensitive information as enumerated in paragraph 5. Nothing in this Order relieves the defendant

or the legal defense team of its obligation to execute a waiver, or to comply with any other
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requirements established       by the DCDOC's             Procedures   for Attomey Visitation       and

Discovery/Surveillance Review policy.

        9.       Disposition following the conclusion         of this criminal    case   -   Following   a

dismissal or acquittal in this case, the defense attomey shall destroy, or return to the United States,

all BWC materials. Following      a   conviction in this case, the defense aftomey may retain a copy     of

the BWC materials in this case onty if: (A) the defense attomey maintains the BWC materials in

the defendant's case file related to this case; and (B) the defense attomey stores the BWC materials

in a secure electronic or physical environment that limits       access   to such materials to the legal

defense team for its use in this case. Nothing in this Order prevents the govemment from seeking

a court order   to further restrict the retention of BWC materials.

        10.      Automatic exclusions from this Order - The restrictions set forth in this Order do

not apply to BWC materials that are, or later become, part of the public record, including materials

that have been received in evidence in this or other public trials, or materials that are publicly

released by the United States Attomey's Office for the District of Columbia, or the govemment            of

the District of Columbia, including the Metropolitan Police Department. Further, the restrictions

in this Order are not intended to limit the use of BWC materials in any judicial proceedings in this

case, except as described below.

        11.      Limited scope of this Order - This Order does not constitute a ruling on the

question of whether any particular BWC material is properly discoverable or admissible and does

not constitute a ruling on any potential objection to the admissibility or discoverability ofthe BWC

material.




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party from seeking modification ofthis Order, or from objecting to discovery that it believes to be

otherwise improper.




       SO ORDERED       this       day   of            . 2018.




                                              THE HONORABLE EMMET G SULLiVAN
                                              UNITED STATES DISTRICT JUDGE




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